    2:24-cr-00790-BHH           Date Filed 03/11/25        Entry Number 64       Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

UNITED STATES OF AMERICA                      )   CRIMINAL NO.: 2:24-cr-00790-BHH
                                              )
                v.                            )
                                              )
JOSHUA PAUL STUART TURNER                     )


                         PRELIMINARY ORDER OF FORFEITURE
                         AS TO JOSHUA PAUL STUART TURNER

       This matter is before the court on the motion of the United States for a Preliminary Order

of Forfeiture as to Defendant Joshua Paul Stuart Turner, (“Turner”, “Defendant”), based upon the

following:

       1.     On October 10, 2024, an Indictment (“Indictment”) was filed charging Turner with:

              Count 1:         Conspiracy to straw purchase and/or have purchased for him
                               firearms, in violation of 18 U.S.C. § 932.

              Count 2:         Possession of a firearm and ammunition, after having been
                               convicted of a felony punishable by more than a year in prison, in
                               violation of Title 18, United States Code, Sections §§ 922(g)(1) and
                               924(a)(8).

       2.      Pursuant to Fed. R. Crim. P. 32.2(a), the Indictment contained a forfeiture

allegation providing that upon Turner’s conviction, certain properties enumerated therein, or

equivalent substitute assets, would be subject to forfeiture to the United States. As specified

therein, such assets include, but are not limited to the following:

                 A.    Proceeds/Forfeiture Judgment: 1

                       A sum of money equal to all proceeds the Defendant obtained, directly
                       or in-directly, from the trafficking in firearms offense charged in this
                       Indictment, and all interest and proceeds traceable thereto, and/or that


       1 The government is not pursuing a forfeiture judgment against the Defendant.


                                          Order, p. 1 of 4
    2:24-cr-00790-BHH           Date Filed 03/11/25         Entry Number 64          Page 2 of 4




                        such sum equals all property derived from or traceable to his violation
                        of 18 U.S.C. § 932.

                 B.     Firearm:

                        Rock Island Armory, Model 206, .38 Special Caliber Revolver
                        Serial Number: RIA2578577
                        Asset ID: 23-ATF-039055

                 C.     Ammunition:

                        Miscellaneous rounds of .38 Caliber Ammunition
                        Asset ID: 23-ATF-039057

           3.   On February 10, 2025, Turner signed a Plea Agreement, and on February 12, 2025,

entered a plea of guilty as to Count 1 of the Indictment.

           4.   Based upon Defendant’s conviction, the court has determined that the property

described above is subject to forfeiture, pursuant to 18 U.S.C. §§ 924(d)(1) and 934, and 28 U.S.C.

§ 2461(c).

           5.   The court has determined that the government has established the requisite nexus

between the said property subject to forfeiture and the offense for which Turner has been

convicted; therefore, the United States is entitled to a preliminary order of forfeiture, subject to the

provisions of 21 U.S.C. § 853 governing third party rights.

                Accordingly, it is hereby ORDERED,

      1.        The below-described property, and all right, title, and interest of the Defendant,

Joshua Paul Stuart Turner, in and to such property, is hereby forfeited to the United States of

America, for disposition in accordance with law, subject to the rights of third parties in such

property under 21 U.S.C. § 853(n):




                                           Order, p. 2 of 4
    2:24-cr-00790-BHH           Date Filed 03/11/25        Entry Number 64         Page 3 of 4




      A.        Firearm:

                Rock Island Armory, Model 206, .38 Special Caliber Revolver
                Serial Number: RIA2578577
                Asset ID: 23-ATF-039055

      B.        Ammunition:

                Miscellaneous rounds of .38 Caliber Ammunition
                Asset ID: 23-ATF-039057

        2.      Upon entry of this Order, the United States Attorney is authorized to conduct proper

discovery in identifying, locating, or disposing of the described property in accordance with Fed.

R. Crim. P. 32.2(b)(3); and to commence proceedings that comply with statutes governing third

party rights, if applicable.

        3.      The United States shall publish notice of this Order and its intent to dispose of the

personal property in such manner as the Attorney General may direct. The United States may also,

to the extent practicable, provide written notice to any person known to have an alleged interest in

the said property.

        4.      Upon entry of this Order, the United States is authorized to seize the above-

described property as directed by the United States Attorney’s Office and to commence

proceedings that comply with statutes governing third party rights.

        5.      Any person, other than the named Defendant, asserting a legal interest in the subject

property may, within thirty days of the final publication of notice or receipt of notice, whichever

is earlier, petition the court for a hearing without a jury to adjudicate the validity of his alleged

interest in the subject property and for an amendment of the order of forfeiture, pursuant to 21

U.S.C. § 853(n)(6) and Fed. R. Crim. P. 32.2(c).




                                          Order, p. 3 of 4
    2:24-cr-00790-BHH           Date Filed 03/11/25        Entry Number 64          Page 4 of 4




          6.    Any petition filed by a third party asserting an interest in the above-described

property shall be signed by the petitioner under penalty of perjury and shall set forth the nature

and extent of the petitioner’s right, title, or interest in the subject property, the time and

circumstances of the petitioner’s acquisition of the right, title or interest in such property, and

additional facts supporting the petitioner’s claim, and the relief sought.

          7.    After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A) and

before a hearing on the petition, discovery may be conducted in accordance with the Federal Rules

of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve factual

issues.

          8.    The United States shall have clear title to the property following the court’s

determination of all third-party interests, or, if no petitions are filed, following the expiration of

the period provided in 21 U.S.C. § 853(n)(2) for the filing of third-party petitions.

          9.    The court shall retain jurisdiction to resolve disputes which may arise and to enforce

and amend this Order as necessary, pursuant to Fed. R. CRim. P. 32.2(e).

          10.   Upon entry of the criminal judgment, this Order becomes final as to Defendant and

shall be made a part of the sentence and included in the criminal judgment.

          11.   The Clerk, United States District Court, shall provide one (1) certified copy of this

Order to the United States Attorney’s Office.

          AND IT IS SO ORDERED.


                                                 s/ Bruce Howe Hendricks
                                                BRUCE H. HENDRICKS
                                                UNITED STATES DISTRICT JUDGE


March 11, 2025
Charleston, South Carolina
                                          Order, p. 4 of 4
